Case 20-06044-NGH       Doc 20    Filed 02/24/21 Entered 02/24/21 10:45:35       Desc Main
                                 Document      Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF IDAHO

  In re:                                               Case No. 20-00830-NGH

  TAMIO LUCIEN STEHRENBERGER and                       Chapter 7
  ANNA CHRISTINE STEHRENBERGER,

                Debtor.
  MICHIKO STEHRENBERGER,
                                                       Adv. Case No. 20-06044-NGH
                        Plaintiff,

  vs.

  TAMIO LUCIEN STEHRENBERGER,
  ANNA CHRISTINE STEHRENBERGER,

                        Debtors/Defendants,            ORDER GRANTING
                                                       PLAINTIFF’S MOTION TO
  INTERNAL REVENUE SERVICE,                            AMEND COMPLAINT
  CALIFORNIA FRANCHISE TAX BOARD,
  and IDAHO TAX COMMISSION,

                        Creditors,

  TIMOTHY R. KURTZ,

                        Chapter 7 Trustee,

  JOHN DOES 1-100,

                        Defendants,

        IT IS HEREBY ORDERED that Plaintiff’s Motion to Amend (Docket No. 13) filed on or

about February 8, 2021, is GRANTED and Plaintiff, Michiko Stehrenberger, is granted leave to

file her Amended Complaint no later than March 15, 2021. //end of text//

DATED: February 24, 2021

                                           _________________________
                                           NOAH G. HILLEN
                                           U.S. Bankruptcy Judge
Case 20-06044-NGH      Doc 20    Filed 02/24/21 Entered 02/24/21 10:45:35   Desc Main
                                Document      Page 2 of 2



        APPROVED TO FORM: _2/23/2021_.

                                                /s/ Michiko Stehrenberger
                                                Michiko Stehrenberger
                                                Plaintiff
        APPROVED TO FORM: _2/23/2021_.

                                                /s/ Brent Wilson
                                                Brent Wilson
                                                Attorney for Trustee

        APPROVED TO FORM: _2/23/2021_.

                                                /s/ Joshua M. O’Hare
                                                Joshua M. O’Hare
                                                Attorney for Defendants
//end of text//

Submitted by Joshua M. O’Hare, Attorney for Defendants
